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                                                                              (Filed: October 25, 2013)
                                                                                                                                  U.S. COURT OF
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     4.   +   ***   r!   *   :1.   ,* :t   *   :t   *   :* {.   *********   .1.   ********       !*   !t *                       FEDERAL CLAIMS


KIRELL TAYLOR,

                                                                     Plaintiff,                              Rule 12(b)(l) Motion to Dismiss;
                                                                                                             Renunciation of Citizenship; Civil
                                                                                                             Rights Violations; Lack of Subject
                                                                                                             Matter Jurisdiction; No Money-
THE LINITED STATES,                                                                                          Mandating Statute Alleged.

                                                                     Defendant.

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Kirell Taylor, appearing pro                                             se, Delano, California.

Joshua E. Kurland, with whom were Stuart F. Delery, Acting Assistant Attorney
General, Jeanne E. Davidson, Director, and Deborah A. Bynum, Assistant Director,
Commercial Litigation Branch, Civil Division, U.S. Department of Justice, Washington,
D.C., for Defendant.

                                                                              OPINION AND ORDER

WHEELER, Judge.

        Plaintiff Kirell Taylor frled a pro se complaint in this Court on July 19, 2013. Mr.
Taylor alleges that government officials have unlawfully denied him the right to renounce
his citizenship. Compl. 5. Mr. Taylor seeks $25 million in damages for civil rights
violations, racial discrimination, and constitutional violations. Compl. 9-11. Mr. Taylor
also seeks declaratory and injunctive relief declaring him an expatriate and stateless
person.

      On September 19, 2013, counsel for the United States filed a motion to dismiss
Mr. Taylor's complaint for lack of subject matter jurisdiction pursuant to Rule 12(b)(1) of
the Court of Federal Claims ("RCFC"). Def.'s Mot. to Dismiss 1. The Govemment
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contends that this Court lacks subject matter jurisdiction over Mr. Taylor's claims
because: (l) the complaint fails to identify any source of substantive law creating the
right to pursue money damages in this Court; (2) this Court does not have jurisdiction
over claims brought under the civil rights statutes; and (3) the Court lacks jurisdiction
over claims sounding in tort for civil wrongs committed by agents of the United States.
Id. at 3-4. For the reasons stated below, the Government's motion to dismiss for lack of
subject matter jurisdiction is GRANTED.

                                       Background

       Mr. Taylor sought to voluntarily renounce his citizenship on religious grounds, but
the United States Citizenship and Immigration Services C'USCIS") denied his request
because such renunciation must take place outside of the United States. Compl. 5. Mr.
Taylor is currently incarcerated in Kern Valley State Prison in Delano, Califomia where
he is serving a life sentence without the possibility of parole. Mr. Taylor asks the Court
to grant declaratory relief that he is a "stateless person or an alien in-custody without a
criminal record." Compl. I 1. He also asks the Court to grant injunctive relief by
ordering the Director of USCIS to remove Mr. Taylor from the California Department of
Corrections. Id.

                                        Analvsis

      In reviewing a motion to dismiss, the Court must accept the allegations in the
complaint as true, drawing all reasonable inferences in the plaintiff s favor. Ainslie v.
 United States, 355 F.3d 1371, 1373 (Fed. Cir. 2004) (citing Godwin v. United States, 338
F.3d 1374, 1377 (Fed. Cir. 2003)). Though pro se litigants are held to "less stringent
 standards than formal pleadings drafted by lawyers," failures to comply with the Court's
jurisdictional requirements are not excused. Hampel v. United States,97 Fed. Cl.235,
237(2011)(quotingEstellev.Gamble,429U.S.97,106(1976)). Wheresubjectmatter
jurisdiction is challenged, the plaintiff must establish the Court's jurisdiction by a
preponderance of the evidence. Reynolds v. Armv & Air Force Exch. Serv., 846 F.2d
746,748 (Fed. Cir. 1988).

       This Court's jurisdiction is established by the Tucker Act. 28 U.S.C. $ 1491
(2006). To invoke jurisdiction under the Tucker Act, a plaintiff must point to a
substantive right to money damages against the United States. Hamlet v. United States,
63 F.3d 1097, ll0l (Fed. Cir. 1995). Such a claim can be founded upon "the
Constitution, or any Act of Congress or any regulation of an executive department, or
upon any express or implied contract with the United States, or for liquidated or
unliquidated damages in cases not sounding in   tort."   28 U.S.C. $ 1491 (2006).
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        Here, Mr. Taylor's claim appears to be based on a breach of contract. Mr. Taylor
attached letters from the State Department as Exhibits B and C to his complaint. These
letters explain the procedure and effects ofrenouncing citizenship, but Mr. Taylor alleges
that the letters are contracts. Compl. 6. Mr. Taylor also refers to the Constitution as a
contract. Pl. Opp'n. to Def.'s Mot. to Dismiss           3. Neither the exhibits nor the
Constitution is a valid conffact between Mr. Taylor and the United States. Further, Mr.
Taylor has not identified any "money-mandating" source of substantive law that will
allow this Court to hear his claim.

       Furthermore, the Court cannot consider Mr. Taylor's civil rights claims against the
United States for failing to revoke his citizenship. It is well settled law that the Court of
Federal Claims does not have jurisdiction over civil rights claims brought under Title VII
of the Civil Rights Act of 1964 or other civil rights statutes. Osbom v. United States, 47
Fed. Cl. 224, 232 (2000). Mr. Taylor's complaint also contains a Bivens claim-an
action for money damages under the Fourth Amendment. Bivens v. Six Unknown
Named Agents of Federal Bureau of Narcotics, 403 U.S. 388,396-397 (1971). However,
this Court lacks jurisdiction over Bivens actions for civil wrongs committed by agents of
the United States. Brown v. United States, 105 F.3d 621,623 (Fed. Cir. 1997). Thus, the
Court does not have jurisdiction to hear Mr. Taylor's claims alleging racial
discrimination and civil rights violations.

        The remainder of Mr. Taylor's demands, which are for declaratory or injunctive
relief, are also outside the jurisdiction of the Court of Federal Claims. The Tucker Act
does not provide independent jurisdiction over such claims for equitable relief. The
Court cannot award injunctive relief that is not "an incident ofand collateral to any such
[money]judgment." $ 1491(aX2); James v. Caldera, 159 F.3d 573, 580 (Fed. Cir. 1998).
The Court does not have authority to hear his claims for injunctive relief because this
Court does not have jurisdiction to hear Mr. Taylor's claim to money damages.

                                            Conclusion

       For the reasons set forth above. the Government's motion to dismiss for lack of
subject matter jurisdiction is GRANTED.

       IT IS SO ORDERED.                                                      /\n
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                                                         THOMAS C. WIIEELER
                                                         Judge
